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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

Michael Kascsak                                     §
                                                    §
vs.                                                 §     NO: AU:23-CV-01373
                                                    §
Michael Davis Velasco, Expedia, Inc.                §

                  ORDER SETTING INITIAL PRETRIAL CONFERENCE

The Court hereby sets and directs the parties, or counsel acting on their behalf, to appear by
phone for a telephone conference on Tuesday, April 09, 2024 at 03:30 PM . The parties are
directed to use the below dial-in information:
                        **Please call in 5 minutes prior to start of hearing.**

                         1.           Toll free number: (866) 390-1828
                         2.           Access code: 6054147

The parties should be prepared to discuss potential trial settings as the Court intends to set a trial
date in this action at the initial pretrial conference.


The use of speaker phones is prohibited during a telephonic appearance. Additionally, multiple
hearings in other cases may start at the same time; attorneys should call in with their phones on
“mute” and wait for the Courtroom Deputy to call this case before they speak.


The Court holds telephonic hearings for the convenience of counsel, especially those from out of
town. Due to the significant number of lawyers who fail to appear by telephone as ordered, THE
COURT MAY SANCTION NON-APPEARING ATTORNEYS WITH COSTS INCURRED BY
APPEARING ATTORNEYS. A second non-appearance (whether in the same or different cases)
will result in non-complaint attorneys being required to appear in person for all subsequent
initial pretrial conferences.


If there are questions regarding the telephonic appearance, the parties should contact Laura
Thomson, Courtroom Deputy, at laura_thomson@txwd.uscourts.gov.
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IT IS SO ORDERED this 26th day of March, 2024.



                                            ______________________________
                                            DUSTIN M. HOWELL
                                            UNITED STATES MAGISTRATE JUDGE
